         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 1 of 21




Jason R.N. Monteleone, ISB No. 5441
Jacob D. Bottari, ISB No. 9556
JOHNSON & MONTELEONE, L.L.P.
350 North Ninth Street, Suite 500
Boise, Idaho 83702
Telephone: (208) 331-2100
Facsimile: (208) 947-2424
jason@treasurevalleylawyers.com
jake@treasurevalleylawyers.com

Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                            IN AND FOR THE DISTRICT OF IDAHO



 STEVEN MEREDITH, as Personal
 Representative of the ESTATE OF JEREMY
 STEVEN MEREDITH, deceased, and
 individually as the natural father and heir to
 JEREMY STEVEN MEREDITH, deceased,

             Plaintiffs

 v.                                               Case No.

 WARDEN TYRELL DAVIS, in his official             FIRST AMENDED COMPLAINT AND
 and individual capacities, IDAHO                 DEMAND FOR JURY TRIAL
 DEPARTMENT OF CORRECTION,
 ASHLEY HAMMOND, L.C.S.W.,
 CHARLES MILES, C. SMITH, CONNOR
 SMITH, CORIZON, L.L.C., and
 JOHN/JANE DOES I through X, whose true
 identities are presently unknown,

             Defendants



       COMES NOW the above-named Plaintiffs, Steven Meredith, individually and as the

Personal Representative of the Estate of Jeremy Steven Meredith, (collectively, “Plaintiffs”), by




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 1
            Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 2 of 21




and through their attorneys of record, Johnson & Monteleone, L.L.P., and, for their causes of action

for damages against the above-named Defendants, state, aver, plead, and allege as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff, Steven Meredith, as the Personal Representative of the Estate of Jeremy

Steven Meredith, and individually as the natural father and heir to Jeremy Steven Meredith is now,

and at all times relevant herein was, a resident of Meridian, Idaho; Steven Meredith was the

natural father of Jeremy Steven Meredith, deceased, who died from suicide on January 12, 2021,

and which is the subject of the instant action.

       2.       Plaintiff, the Estate of Jeremy Steven Meredith, is the decedent’s estate created by

operation of statute, as Jeremy Steven Meredith died intestate; Steven Meredith has petitioned and

has been appointed as the personal representative of the Estate of Jeremy Steven Meredith, a

deceased person.

       3.       Defendant, Warden Tyrell Davis (“Warden Davis”), was at all relevant times herein

acting under the color of state law as an employee and warden of the Idaho Maximum Security

Institution and its medical unit. Warden Davis is sued in his individual and official capacities.

       4.       Defendant, Idaho Department of Correction (“IDOC”), is a state agency which

provides correctional services throughout the state of Idaho.

       5.       Defendant, Ashley Hammond (“Hammond”), is a licensed clinical social worker

who was/is an agent and/or employee of Defendant IDOC at all times relevant to this action and

who resides in the state of Idaho.

       6.       Defendant, Charles Miles (“Defendant Miles”), is/was a correctional officer who

is/was and agent and/or employee of Defendant IDOC, who was involved in the supervision and

safety oversight of Jeremy Steven Meredith, and who resides in the state of Idaho.




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 2
               Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 3 of 21




          7.       Upon information and belief, Defendant, C. Smith (“Defendant C. Smith”), is/was

 a correctional officer who is/was an agent and/or employee of Defendant IDOC, who was

 involved in the supervision and safety oversight of Jeremy Steven Meredith, and who resides in

 the state of Idaho.

          8.       Upon information and belief, Defendant, Connor Smith (“Defendant Connor

 Smith”), is/was a correctional officer who is/was an agent and/or employee of Defendant IDOC,

 who was involved in the supervision and safety oversight of Jeremy Steven Meredith, and who

 resides in the state of Idaho.

          9.       Defendant, Corizon, L.L.C., in addition to the Corizon Defendants are private

 corporations or other business organizations contracted by Defendant IDOC to provide medical

 services to prisoners housed at IMSI. These Defendants include all corporate entities, including,

 but not limited to, Corizon, L.L.C., who was a contractor for the state of Idaho for the provision

 of healthcare services at Idaho Maximum Security Institution (“IMSI”) as well as other state

 correctional facilities throughout Idaho at all times relevant to this action.

          10.      John/Jane Does I through X, whose true identities are presently unknown,

Defendants, are now, and at all times relevant to this action were, entities or individuals who were

the agents, employees, independent contractors, subdivisions, franchisees, wholly-owned

subsidiaries, or divisions of the Defendants herein, or are the entities or individuals acting on behalf

of, in a master/servant or principal/agent relationship with, or in concert with defendants named

herein.

          11.      The United States District Court in and for the District of Idaho has jurisdiction

over Plaintiff’s federal claims pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1331, and 28 U.S.C. §

1343(a)(3).




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 3
          Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 4 of 21




        12.     The United States District Court in and for the District of Idaho is an appropriate

venue, pursuant to 28 U.S.C. § 1391(b)(2), because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred in this judicial district.



                             FACTUAL ALLEGATIONS COMMON
                               TO ALL CAUSES OF ACTIONS

        13.     Plaintiffs reallege the preceding paragraphs as though fully set forth in haec verba.

        14.     At all relevant times, Jeremy Steven Meredith, deceased, was 37 years old and was

incarcerated at the Idaho Maximum Security Institution (“IMSI”) located at 13400 South Pleasant

Valley Road in Kuna, Idaho, and operated by Defendants IDOC and Warden Davis.

        15.     Jeremy Steven Meredith suffered from longstanding mental health conditions,

including schizoaffective disorder and bipolar disorder, which were well-known to Defendants at

all times relevant to this action. In fact, Defendants were aware of Jeremy Steven Meredith’s prior

criminal history, which included multiple instances wherein Jeremy Steven Meredith was placed

on mental holds because he was suffering from mental health crises. Defendants were also aware

of Jeremy Steven Meredith’s diagnoses of Schizoaffective Disorder, Attention Deficit Disorder,

and Asperger’s/Autism Spectrum Disorder, and his repeated course of suicidal conduct and acts

of self-harm throughout his incarceration at IMSI. Jeremy Steven Meredith was repeatedly placed

on suicide watch throughout his incarceration at IMSI.

        16.     In 2021, due to Jeremy Steven Meredith’s suicidal behaviors and repeated course

of suicidal conduct, including acts of self-harm, Defendants placed Jeremy Steven Meredith on

suicide watch on numerous occasions and assigned Jeremy Steven Meredith inmate companions

to monitor his behavior.




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 4
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 5 of 21




       17.     In early January 2021, Jeremy Steven Meredith was placed on suicide watch due to

his severe mental health conditions, repeated course of suicidal conduct, and acts of self-harm.

While on suicide watch in the Medical Unit, Jeremy Steven Meredith was observed on multiple

occasions attempting to hang himself with various items of clothing. Jeremy Steven Meredith

engaged in a wide manner of bizarre behavior and activities while he was on suicide watch, which

included abrupt and aggressive exercise, dancing, tying white clothing around his neck, hitting the

walls and windows, and constantly making loud grunting and burping noises. He was noted to

have been getting little to no sleep while on suicide watch and was making non-sensical statements

to Defendants. During this time period, Jeremy Steven Meredith would consistently ask

Defendants for his medications, but, when offered, would often refuse to take the medications.

After Jeremy Steven Meredith would refuse to take his medications, Defendants would thereafter

refuse to give him the necessary medications, because “…[H]is opportunity was gone.”

       18.     On January 9, 2021, Jeremy Steven Meredith was found by his inmate companion

to be exhibiting abnormal, suicidal behavior by tying an object around his neck on several instances

from 11:10 a.m. to 11:50 a.m., which the inmate companion communicated to Defendants. This

conduct was also documented in his inmate companion’s logbook, including a notation that Jeremy

Steven Meredith attempted to hang himself with his underwear that day. However, Defendants

failed to document this behavior in their logbooks and failed to report such behavior to their

supervisors or medical clinicians on staff.

       19.     Upon information and belief, on that same date, Defendant Miles, Defendant C.

Smith, and/or Defendant Connor Smith also observed Jeremy Steven Meredith’s suicidal conduct,

including tying white clothing around his neck and hitting the walls and window with his body but




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 5
          Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 6 of 21




failed to document this conduct in their logbook(s) and/or report these instances of self-harm to

their supervisors, other coworkers, or medical clinicians on staff.

       20.     In the morning of January 10, 2021, Defendant Hammond evaluated Jeremy Steven

Meredith prior to his release from suicide watch in the medical unit. Upon information and belief,

Jeremy Steven Meredith told Defendant Hammond that he was suicidal and did not want to be

released back to his cell. Jeremy Steven Meredith told Defendant Hammond that he would kill

himself, if Defendant Hammond released him back to cell. Despite Jeremy Steven Meredith’s

suicidal behaviors and clear statement that he would kill himself, if Defendant Hammond released

him back to his cell, Defendant Hammond released Jeremy Steven Meredith from suicide watch

in the medical unit and had him returned back to his isolated cell in Cell Block C.

       21.     At approximately 9:30 a.m. on January 10, 2021, Defendants removed Jeremy

Steven Meredith from suicide watch in the medical unit and placed him in segregation in Cell

Block C, Cell 45. Jeremy Steven Meredith was isolated and housed alone in his cell despite the

fact that he was a known to be a risk of suicide. Defendants failed to adequately monitor Jeremy

Steven Meredith through continuous supervision and direct line of sight after returning him to his

isolated cell. In fact, Defendants left Jeremy Steven Meredith alone in his isolated cell without

any supervision for an extended period of time.

       22.     While Jeremy Steven Meredith was in his cell, he talked to a nearby inmate through

the ventilation system. Jeremy Steven Meredith asked the inmate how he could kill himself and

told the inmate that he was going to kill himself. The inmate pleaded with Jeremy Steven Meredith

not to kill himself and to push his emergency button to call for Defendants’ assistance. Jeremy

Steven Meredith told the inmate that he was pushing his emergency button, but Defendants would

not respond to his calls.




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 6
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 7 of 21




       23.     At approximately 10:30 a.m. on January 10, 2021, Jeremy Steven Meredith

attempted suicide by hanging himself with a bed sheet.

       24.     At approximately 11:08 a.m. on January 10, 2021, Defendants found Jeremy Steven

Meredith alive, hanging from a bed sheet tied to a top bunk in his cell.

       25.     After medical assistance was provided, Jeremy Steven Meredith was transferred to

St. Alphonsus Regional Medical Center in Boise, Idaho, where he was treated medically but died

from his injuries on January 12, 2021.

       26.     Following Jeremy Steven Meredith’s suicide, Defendants conducted a Serious

Incident Review (“SIR”), which revealed numerous violations of critical standard operating

procedures (“SOPs”) adopted by Defendants, including SOP 505.02.01.001—Inspection of

Facilities and Facility Log Guidelines/Post Orders-Medical Officer and SOP 315.02.01.001—

Suicide Risk and Management and Intervention. The SIR Report issued by Defendants identified

the following violations of Defendants’ SOPs:

                   a. SOP     505.01.01.001—Inspection       of   Facilities   and   Facility   Log

                       Guidelines/Post Orders: “Mr. Meredith was found to be having abnormal

                       behavior leading up to said incident, where it was noted by the inmate

                       companion in his logbook on 1/09/2021 that Jeremy Meredith was tying an

                       object around his neck on several instances during the times of 1110 hours

                       to 1150 hours. However, this was not noted in the staff’s behavior

                       observation log regarding any of this behavior nor was it reported to the

                       Shift Commander on duty. Noteworthy events will be logged in red ink and

                       Medical Security Staff must maintain an accurate and detailed logbook. It

                       does not appear that Inmate Meredith’s engaging in self harm was




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 7
       Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 8 of 21




                 documented. It is recommended that when self-harm and/or erratic behavior

                 occurs it be specifically written. Watch log indicated broad terms up to

                 interpretation such as ‘acting out’.”

              b. SOP 315.02.01.001—Suicide Risk Management and Intervention: “Watch

                 companions must maintain direct line of supervision of incarcerated

                 individuals on non-acute suicide watch or close observation and must never

                 engage in activity that would take away their ability to constantly monitor

                 the incarcerated individual on a monitoring status. Staff are then responsible

                 to ensure that watch companions follow this process. It appeared in the

                 video that the watch companion just walked away from monitoring the door

                 for bathroom breaks and/or to refill their coffee cup. It is recommended that

                 only staff refill their coffee cup and that watch companions ask the medical

                 officer to use the restroom so that the medical officer can be the one to

                 provide direct line of sigh while the watch companion uses the restroom

                 and/or find someone else to provide the direct line of sight.

              c. SOP 315.02.01.001—Suicide Risk Management and Intervention: “During

                 close observation, staff members are responsible for oversight of the

                 monitoring, and must visually observe the incarcerated individual at

                 staggered intervals not to exceed 15 minutes. It is recommended that these

                 checks be done visually cell side and not through camera footage at the

                 officer station. This policy also states that watch companions must be able

                 to obtain rapid staff assistance. It is advised that IMSI leadership discuss a

                 way that a watch companion can make immediate contact with staff when




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 8
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 9 of 21




                      an individual in engaging in self-harm behavior and staff are not present at

                      the unit station.

                   d. SOP 315.02.01.001—Suicide Risk Management and Intervention:

                      “Styrofoam cups are not allowed to stay in the cell while an offender is on

                      suicide watch or close observation. Our findings showed that Mr. Meredith

                      had a Styrofoam cup in his cell which he used to drink out of the toilet with.

                      It is recommended that a Styrofoam cup be authorized on the suicide watch

                      operation memo if Clinical Staff deem it safe for that patient to have it. This

                      Field Memorandum also indicated that any concerns with an offender’s

                      behavior be reported to the Shift Commander and Clinician. From the SIR

                      packet it does not appear that Shift Commander or Clinician was notified

                      when Mr. Meredith was actively engaging in self-harm behavior when on

                      close observation.

       27.     As a result of the SIR, the SIR Board found, based on its professional judgement,

that Defendants’ officer(s) charged with supervising Jeremy Steven Meredith did not adhere to

Defendants’ SOPs. More specifically, the SIR Board found: “It is the panels [sic] opinion that

Officer [redacted] did not respond according to SOP; he failed to log and report instances of self-

harm to the Shift Commander and/or log it in the required behavior observation log for the Clinical

staff to reference. He did not complete an information report regarding any incidents or behavior

that day prior to leading up to the incident under review. Furthermore, when interviewed by the

panel he contradicted himself at various times and concluded that he did not see Jeremy Meredith

perform any acts of self-harm (putting a white cloth around his neck), but rather a ‘Shift

Commander’ instructed him to place that in his report. When questioned about who instructed him,




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 9
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 10 of 21




he stated he couldn’t recall which Shift Commander told him about the incident and/or told him to

include this in his information report.”

       28.     As a result of the SIR, the SIR Board found that there were actions that should have

been done and that can be done in the future to prevent suicides like that of Jeremy Steven

Meredith’s from occurring in the future. Specifically, the SIR Board issued the following opinion:

“It is the panels [sic] opinion that in order to reduce the risk of similar incidents from occurring in

the future, we can continue to ensure all screening, assessment and required follow ups are

completed in accordance with standard operating procedures. Furthermore, there has been a

recommendation made by Clinical staff to have a uniform process of storing, tracking, and

maintaining the behavior observation logs that are completed by the companions on watch. The

process should include review of both the companion and staff observation notes on said logs.”

       29.     As a result of the SIR, the SIR Board found certain operational issues that existed

with Defendants’ “Companion Logs Process” at the time of Jeremy Steven Meredith’s suicide.

Specifically, the SIR Board issued the following finding: “It was noted by the panel that there is

a discrepancy regarding Operational Issues. Companion Logs-Process is inconsistent and there is

a need to establish a uniformed way to store, track, and maintain the behavior observation logs

completed by the companions on watch. The process should include review of both the Companion

and Staff observation notes on said logs daily, up to and as far back as the previous days Mental

Health checks. A common area or designated space, folder, etc. to be able to have these readily

available for staff to reference as needed.”

       30.     As a result of the SIR, the SIR Board found Defendants had a policy and practice

of not adequately training staff on Suicide Risk Management. In fact, four of the seven officers




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 10
        Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 11 of 21




who were involved in the monitoring and supervision of Jeremy Steven Meredith had not received

their Suicide Risk Management training within the required timeline.

       31.     At all times relevant herein, Defendants IDOC and Warden Davis, were legally

responsible for the management of IMSI, including establishing and implementing policies,

procedures, and protocols governing Suicide Prevention Programs and Intervention.

       32.     At all relevant times hereto, Defendants IDOC and Warden Davis, were legally

responsible for screening, hiring, training, and supervising their employees.

       33.     As a direct result of Defendants’ conduct, including their acts and omissions,

Jeremy Steven Meredith committed suicide, which death was avoidable and wrongful.



                            FIRST CAUSE OF ACTION
             (VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. § 1983)

       34.     Plaintiffs reallege the preceding paragraphs as though fully set forth in haec verba.

       35.     This cause of action is asserted against all Defendants.

       36.     Defendants were acting under color of state law while Jeremy Steven Meredith was

under their care and custody and deprived Jeremy Steven Meredith of certain rights, privileges,

and/or immunities which were secured by the United States Constitution and other laws. This

deprivation of rights, privileges, and/or immunities (i.e. Eighth Amendment, Cruel and Unusual

Punishment—deliberate indifference to Jeremy Steven Meredith’s serious, medical needs) caused

Jeremy Steven Meredith’s death and all resulting damages recoverable for his wrongful death.

       37.     As a direct result of Defendants’ conduct, Jeremy Steven Meredith was incarcerated

under conditions posing a substantial risk of serious harm and which ultimately resulted in his

death. Defendants knew that Jeremy Steven Meredith presented a heightened risk of suicide and

was particularly vulnerable to suicide based on his documented history of being placed on suicide



FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 11
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 12 of 21




watch, documented suicidal behaviors, and documented acts of self-harm in the months, weeks,

and days leading up to his act of suicide. Despite Defendants’ knowledge of the excessive risk to

Jeremy Steven Meredith’s safety, Defendants released him from suicide watch and placed him in

an isolated cell without supervision.

       38.     Jeremy Steven Meredith’s long history of severe mental illness, both prior to and

during his incarceration at IMSI, including his suicidal ideations and acts of self-harm the day

before and the day of his suicide, establish the threat to his health was objectively serious and that,

if left untreated and unmonitored, Jeremy Steven Meredith was likely to suffer further significant

injury, including but not limited to, suicide. Defendants knew that Jeremy Steven Meredith was at

a heightened risk of killing himself but consciously and deliberately disregarded the serious risk

of harm that he posed to himself.

       39.     The acts and omissions of Defendants in denying medical care to Jeremy Steven

Meredith violated the requirements of the Eighth Amendment rights held by Jeremy Steven

Meredith from cruel and unusual punishment.

       40.     The specific actions of Defendants, acting under color of state law and also

individually and/or in concert with each other, alleged to be violations of Jeremy Steven

Meredith’s protected, constitutional rights are more particularly set forth as follows:

                   a. Defendants knew that Jeremy Steven Meredith’s presented a heightened

                       risk of suicide and was particularly vulnerable to suicide based on his

                       documented history of being placed on suicide watch at IMSI, documented

                       suicidal behaviors, and documented acts of self-harm in the months, weeks,

                       and days preceding his act of suicide. Defendants were aware of Jeremy

                       Steven Meredith’s severe mental illness based on his multiple instances of




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 12
       Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 13 of 21




                 being placed on mental health holds prior to his incarceration at IMSI, but

                 released him back to his isolated cell without supervision.

              b. Defendants failed to do anything in response to the serious concerns

                 presented by Jeremy Steven Meredith’s inmate companion that Jeremy

                 Steven Meredith was exhibiting abnormal, suicidal behavior including

                 multiple instances of tying an object around his neck and trying to hang

                 himself with his underwear on January 9, 2021.

              c. Defendant Miles, Defendant C. Smith, and/or Defendant Smith observed

                 Jeremy Steven Meredith’s suicidal behavior and attempted acts of self-harm

                 on January 9, 2021, including but not limited to, tying clothing around his

                 neck as if he was going to hang himself, hitting the walls and windows with

                 his body, engaging in abrupt and aggressive movements, constantly making

                 loud grunting and burping noises, and making non-sensical statements, but

                 failed to document this conduct in his log and report the instances of self-

                 harm to the Shift Commander.

              d. Defendants released Jeremy Steven Meredith from suicide watch in the

                 Medical Unit despite his clear statement to Defendants that he would kill

                 himself if they released himself back to his cell.

              e. Defendants released Jeremy Steven Meredith from suicide watch in the

                 Medical Unit into isolated confinement in Cellblock C, Cell 45, on January

                 10, 2021. Defendants’ released Jeremy Steven Meredith’s to isolated

                 confinement despite his documented suicidal behavior and acts of self-harm




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 13
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 14 of 21




                       on January 9, 2021 and his clear intentions to kill himself the morning of

                       January 10, 2021.

                   f. Defendants left Jeremy Steven Meredith unattended and unsupervised for

                       an extended period of time on January 10, 2021, after he was released from

                       suicide watch despite the substantial risk of serious harm that he posed to

                       himself.

       41.     The unreasonableness of Defendants’ failure to provide adequate medical and

mental health care under these circumstances is well-defined by existing law and by the established

polices of IDOC and IMSI, and each Defendant knew or reasonably should have known that their

conduct was not only well below the standard prescribed by law but was illegal and

unconstitutional per se.

       42.     As a direct and proximate result of Defendants’ deliberate indifference to Jeremy

Steven Meredith’s heightened risk of suicide, he killed himself.

       43.     As a direct and proximate result of Defendants’ deprivation of the rights, privileges,

and/or immunities due to Jeremy Steven Meredith, Plaintiffs have sustained both economic and

noneconomic losses, including but not limited to, Jeremy Steven Meredith’s funeral and burial

expenses, medical expenses, expenses associated with medical, psychological and counseling care

and expenses, emotional distress, loss of enjoyment of life and reasonable values attributable for

the loss of the companionship, services, support, care, comfort and society due the death of Jeremy

Steven Meredith. The amount of these damages to be proven with specificity at trial.

       44.     Plaintiffs are entitled to punitive damages against Defendants for their reckless and

callous indifference to Jeremy Steven Meredith’s federally protected rights.




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 14
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 15 of 21




       45.     Plaintiffs have been required to hire attorneys to represent them in this matter and

thus are entitled to an award of reasonable attorney fees and costs pursuant to 42 U.S.C. § 1983.



                                   SECOND CAUSE OF ACTION
                                       (Monell Liability)

       46.     Plaintiffs reallege the preceding paragraphs as though fully set forth in haec verba.

       47.     This cause of action is asserted against Defendants IDOC and Warden Davis.

       48.     Defendants IDOC and Warden Davis either adopted a policy, had a longstanding

practice or custom which constituted a policy, or ratified actions, which ratification amounted to a

policy, in violation of Jeremy Steven Meredith’s constitutional right to be free from cruel and

unusual punishment and to be free from damages as a result of the concerted effort to deprive him

of due process of law.

       49.     Defendants IDOC and Warden Davis had policies and procedures of action and

inaction in which they violated Jeremy Steven Meredith’s constitutional rights or instructed their

employees to do so. The specific policies of action and inaction of Defendants IDOC and Warden

Davis that are alleged to be a violations of Jeremy Steven Meredith’s protected constitutional rights

are more particularly set forth as follows:

                   a. Defendants IDOC and Warden Davis had a policy and practice of not

                         training officers/staff on Suicide Risk Management. Four of the seven

                         officers/staff involved in supervising and monitoring Jeremy Steven

                         Meredith had not received their required Suicidal Risk Management and

                         Intervention training within the timelines mandated by IDOC and the

                         Warden.




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 15
       Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 16 of 21




              b. Defendants IDOC and Warden Davis failed to exercise appropriate care in

                 the hiring, training, and supervision of its officers/staff so as to ensure their

                 officers would be capable of making informed and rational decisions in the

                 course of performing their duties relative to Suicide Risk Management and

                 Intervention, and implementing the SOPs for Suicide Risk Management and

                 Intervention.

              c. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy requiring staff members to report instances of inmate self-harm

                 and/or suicidal behavior to their supervisory and/or clinical staff.

              d. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy requiring staff members to document instances of inmate self-harm

                 and/or suicidal behavior in an observation log for supervisory and clinical

                 staff to review and reference. Such a policy must require all documentation

                 of instances of self-harm and/or suicidal behavior to be specific, detailed

                 entries and general references such as “acting out” must be explicitly

                 prohibited.

              e. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy requiring noteworthy events such as suicidal behavior and acts of

                 self-harm to be documented in a conspicuous manner within the required

                 logbooks.

              f. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy ensuring all Suicide Risk Management and Intervention screening,




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 16
       Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 17 of 21




                 assessment, and required follow-ups are completed in accordance with

                 SOPs.

              g. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy creating a uniform process of storing, tracking, maintaining, and

                 accessing the behavior observation logs that are completed by inmate watch

                 companions, including a requirement that clinical staff review both inmate

                 companion logs and staff observation logs on a daily basis and up to as far

                 back as the previous days mental health checks.

              h. IDOC and the Warden failed to implement and/or enforce a policy requiring

                 suicidal inmates and those who have attempted suicide to be evaluated by

                 mental health care providers and/or transferred to mental health facilities.

              i. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy requiring: 1) evaluation of suicidal inmates or those who have

                 attempted suicide by a qualified mental health professional, who designates

                 the inmate’s level of suicide risk, level of supervision needed, and the need

                 for transfer to an inpatient mental health facility or program; 2) regular

                 reassessment of those inmates to identify any change in condition indicating

                 a need for change in supervision level or required transfer or commitment;

                 3) and periodic follow-up assessment after the inmate’s discharge from

                 suicide precautions.

              j. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                 policy prohibiting suicidal inmates from being released back to their




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 17
        Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 18 of 21




                  k. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                      policy prohibiting suicidal inmates from being placed in isolation unless

                      constant supervision is maintained.

                  l. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                      policy requiring continuous monitoring of actively suicidal inmates who are

                      housed alone in a room.

                  m. Defendants IDOC and Warden Davis failed to implement and/or enforce a

                      policy requiring officers/staff to maintain continuous monitoring of suicidal

                      inmates. Other supervision aids (e.g., closed-circuit television and inmate

                      companions or watchers) can be used a supplement to continuous

                      monitoring, but never as a substitute for staff monitoring.

       50.     Defendants IDOC’s and Warden Davis’s policies of action and inaction amount to

deliberate indifference to the rights of Jeremy Steven Meredith and his medical needs.

       51.     Jeremy Steven Meredith would not have had the opportunity to commit suicide had

Defendants IDOC and Warden Davis properly trained and supervised their officers/staff and

implemented and/or enforced the above-referenced policies and procedures.

       52.     As a direct and proximate result of Defendants IDOC’s and Warden Davis’s

policies of action and inaction, Jeremy Steven Meredith committed suicide and Plaintiffs have

sustained both economic and noneconomic losses, including but not limited to, Jeremy Steven

Meredith’s funeral and burial expenses, medical expenses, expenses associated with medical,

psychological and counseling care and expenses, emotional distress, loss of enjoyment of life and

reasonable values attributable for the loss of the companionship, services, support, care, comfort




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 18
          Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 19 of 21




and society due the death of Jeremy Steven Meredith. The amount of these damages to be proven

with specificity at trial.

         53.    Plaintiffs are entitled to punitive damages against Defendants for their reckless and

callous, deliberate indifference to Jeremy Steven Meredith’s federally protected rights and medical

needs.

         54.    Plaintiffs have been required to hire attorneys to represent him in this matter and

thus is entitled to an award of reasonable attorney fees and costs pursuant to 42 U.S.C. §§ 1981,

1983, and/or 1988.



                                  THIRD CAUSE OF ACTION
                             (Wrongful Death Pursuant to I.C. § 5-311)

         55.    Plaintiffs reallege the preceding paragraphs as though fully set forth in haec verba.

         56.    This cause of action is asserted against all Defendants.

         57.    As a result of Defendants’ failure to provide medical care and/or to protect Jeremy

Steven Meredith, he suffered a wrongful death, and his heirs, to wit, his father and decedent’s

estate are entitled to recover damages from Defendants for wrongful death.

         58.    As a result of Defendants’ tortious, negligent, intentional, reckless, willful, wanton,

and deliberately indifferent conduct, Jeremy Steven Meredith had an opportunity to commit

suicide; as such, Defendants’ acts and omissions were substantial factors in causing the death of

Jeremy Steven Meredith.

         59.    As a direct and proximate result of the acts and omissions of Defendants, as well

as their intentional, negligent, reckless, willful, and/or wanton conduct, Jeremy Steven Meredith

committed suicide and Plaintiffs have sustained both economic and noneconomic losses, including

but not limited to, Jeremy Steven Meredith’s funeral and burial expenses, medical expenses,



FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 19
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 20 of 21




expenses associated with medical, psychological and counseling care and expenses, loss of the

companionship, services, support, care, comfort and society due the death of Jeremy Steven

Meredith. The amount of these damages will be proven with greater specificity at trial.

       60.     Plaintiffs have been required to hire attorneys to represent them in this matter and

thus are entitled to an award of reasonable attorney fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

       1.      For the first and second causes of action, Plaintiffs pray for judgment finding that

Jeremy Steven Meredith’s protected, constitutional rights were violated;

       2.      For all causes of action, Plaintiffs’ special and general damages in amounts which

may be proven at trial;

       3.      For the first and second causes of action, an award of punitive damages;

       4.      For costs of the action incurred herein;

       5.      For an award of reasonable attorney fees to be determined by the Court; and

       6.      For such other and further relief, as this Court deems just, equitable, and proper.


       DATED: This 9th day of January, 2023.



       JOHNSON & MONTELEONE, L.L.P.

          /s/ Jason R.N. Monteleone_______
       Jason R.N. Monteleone
       Attorneys for Plaintiffs




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 20
         Case 1:22-cv-00524-DCN Document 5 Filed 01/10/23 Page 21 of 21




                                  DEMAND FOR JURY TRIAL

        Pursuant to F.R.C.P. 38(b), Plaintiffs hereby demand a trial by jury on any and all issues

properly triable by jury in this action.



        DATED: This 9th day of January, 2023.



        JOHNSON & MONTELEONE, L.L.P.

           /s/ Jason R.N. Monteleone_______
        Jason R.N. Monteleone
        Attorneys for Plaintiffs




FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 21
